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                  12                      UNITED STATES DISTRICT COURT
                  13                     CENTRAL DISTRICT OF CALIFORNIA
                  14     CORE OPTICAL                      Case No.: 8:16-CV-00437 AG (JPRx)
                         TECHNOLOGIES, LLC,
                  15                                       ORDER EXTENDING THE STAY OF
                             Plaintiff and Counterclaim-   DEADLINES PENDING
                  16         Defendant,                    FINALIZATION OF SETTLEMENT
                                                           AGREEMENT
                  17         v.
                                                           Hon. Andrew J. Guilford
                  18     FUJITSU NETWORK
                         COMMUNICATIONS, INC.,
                  19
                             Defendant and
                  20         Counterclaimant.
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M ANATT , P HELPS &                                                               Order Extending the Stay of Deadlines
  P HILLIPS , LLP
                                                                          Pending Finalization of Settlement Agreement
  ATTORNEYS AT LAW
    LOS ANGELES
            Case 8:16-cv-00437-AG-JPR Document 111 Filed 09/25/17 Page 2 of 2 Page ID #:3993



                     1         The September 22, 2017 Joint Status Report and Stipulation to Extend the
                     2   Stay of Deadlines Pending Finalization of Settlement Agreement having been
                     3   considered by the Court, and good cause having been shown, IT IS HEREBY
                     4   ORDERED:
                     5         1.    That the stay of the above-captioned action set forth in the Court's
                     6               prior Orders (Dkts. 99, 101, 103, 107 & 109) is extended by an
                     7               additional 14 business days, until October 16, 2017; and
                     8         2.    That the parties shall submit a joint status report on October 16, 2017
                     9               regarding execution of the Settlement Agreement and timing for filing
                  10                 a Joint Stipulation of Dismissal consistent with the terms of the
                  11                 Settlement Agreement.
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                  13     Dated: September 25, 2017
                                                                         Hon. Andrew J. Guilford
                  14                                                    United States District Judge
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M ANATT , P HELPS &
  P HILLIPS , LLP                                                1               [Proposed] Order Extending the Stay of Deadlines
  ATTORNEYS AT LAW
                                                                                  Pending Finalization of Settlement Agreement
    LOS ANGELES
